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  16 Lead Counsel in the Maine State          Counsel for MashreqBank, psc in the
     action only                              Luther action
  17
                            UNITED STATES DISTRICT COURT
  18
                          CENTRAL DISTRICT OF CALIFORNIA
  19
     MAINE STATE RETIREMENT                     ) No. 2:10-cv-00302-MRP(MANx)
  20 SYSTEM, Individually and On Behalf )
     of All Others Similarly Situated,          ) CLASS ACTION
  21                                            )
                                 Plaintiff,     ) DECLARATION OF AZRA Z.
  22                                            ) MEHDI ON BEHALF OF THE
            vs.                                 ) MEHDI FIRM, PC IN SUPPORT OF
  23                                            ) APPLICATION FOR AWARD OF
     COUNTRYWIDE FINANCIAL                      ) ATTORNEYS’ FEES AND
  24 CORPORATION,        et al.,                ) EXPENSES
                                                )
  25                             Defendants.    )
                                                )
  26 [Caption   continued on  following  page.]
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   1 WESTERN CONFERENCE OF                  )   No. 2:12-cv-05122-MRP(MANx)
     TEAMSTERS PENSION TRUST                )
   2 FUND, Individually and On Behalf of    )   CLASS ACTION
     All Others Similarly Situated,         )
   3                                        )
                               Plaintiff,   )
   4                                        )
           vs.                              )
   5                                        )
     COUNTRYWIDE FINANCIAL                  )
   6 CORPORATION, et al.,                   )
                                            )
   7                          Defendants.   )
                                            )
   8 DAVID H. LUTHER, et al.,               )   No. 2:12-cv-05125-MRP(MANx)
     Individually and On Behalf of All      )
   9 Others Similarly Situated,             )   CLASS ACTION
                                            )
  10                          Plaintiffs,   )
                                            )
  11        vs.                             )
                                            )
  12 COUNTRYWIDE FINANCIAL                  )
     CORPORATION, et al.,                   )
  13                                        )
                          Defendants.       )
  14                                        )
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   1         I, AZRA Z. MEHDI, declare as follows:
   2         1.    I am the principal at The Mehdi Firm, PC (“The Mehdi Firm”), counsel
   3 to Lead Plaintiff MashreqBank, psc (“MashreqBank”) in the above-referenced case,
   4 particularly in the action entitled, Luther v. Countrywide Financial Corporation, et al.,
   5 Case No. 2:12-cv-05125-MRP(MANx) (“Luther”). I am admitted to practice in the
   6 State of California and the State of New York. I am also admitted to the Central
   7 District of California, as well as several other federal courts in the country.
   8         2.    I respectfully submit this declaration in support of The Mehdi Firm’s
   9 application for an award of attorneys’ fees and expenses in connection with my
  10 services and my firm’s services rendered in the above-entitled action. I have personal
  11 knowledge of the facts stated herein and upon request can and will competently testify
  12 thereto.
  13         3.    Until December 2009, I was a partner at Coughlin Stoia Geller Rudman
  14 & Robbins LLP, now known as Robbins Geller Rudman & Dowd LLP (hereinafter
  15 collectively referred to as “Robbins Geller”), Co-Lead Counsel in the Luther action.
  16         4.    In late 2008, MashreqBank, a Dubai-based, United Arab Emirates bank,
  17 retained me and my then law firm Robbins Geller to investigate and represent its
  18 interests in connection with losses incurred through MashreqBank’s investments in
  19 securities issued by Countrywide Financial Corporation (“CFC”), including various
  20 subsidiaries and special purpose vehicles. In that capacity, I have participated in the
  21 litigation at various levels since 2008. Prior to this action, MashreqBank had never
  22 previously been a plaintiff in any securities litigation in the United States and relied
  23 substantially on my expertise as well as that of Co-Lead Counsel Robbins Geller.
  24       5.     MashreqBank was appointed as one of the lead plaintiffs in the Luther
  25 action in the Superior Court of California, Los Angeles County. I have been counsel to
  26 MashreqBank since the commencement of that matter and its subsequent removal and
  27 incorporation into the above-referenced cases. I have since inception been and
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   1 currently am MashreqBank’s primary contact and liaison in connection with this
   2 litigation. I have had the sole responsibility for analyzing and collecting
   3 MashreqBank’s transactions and related information and investments in the CFC
   4 securities to provide to Robbins Geller. I have kept MashreqBank fully informed of
   5 the status of the case both in state court and federal court as well as during the
   6 appellate process. In addition, I have kept MashreqBank informed of the settlement
   7 process and obtained input regarding litigation and settlement discussions specifically
   8 pertaining to settlement parameters in the lengthy settlement negotiations that resulted
   9 in the $500 million Settlement, including crafting of the proposed Plan of Allocation.
  10         6.    MashreqBank’s participation in this litigation has greatly enhanced the
  11 value of the Settlement inasmuch as MashreqBank was the sole representative for
  12 various offerings and tranches, including the following:
  13                 No.           Offering (Tranche)              Registration
  14                                                              Statement No.
                      1           CWALT 2005-38(A3)                333-125902
  15
                      2          CWALT 2005-51(1A1)                333-125902
  16                  3          CWALT 2005-51(2A1)                333-125902
  17                  4          CWALT 2005-51(4A1)                333-125902
                      5         CWALT 2005-59(1A2A)                333-125902
  18
                      6          CWALT 2005-62(1A1)                333-125902
  19                  7          CWALT 2005-76 (3A1)               333-125902
  20                  8         CWALT 2006-28CB(A8)                333-131630
  21                  9           CWALT-2007-24(A4)                333-140962
                      10        CWHL 2005-HYB4(2A1)                333-121249
  22
                      11           CWHL 2006-3(1A1)                333-125963
  23                  12           CWL 2006-S5(A1)                 333-132375
  24
       Class members falling within these 12 tranches would not have been able to obtain
  25
       any recovery without MashreqBank’s role in this litigation.
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   1        7.     I have thoroughly reviewed the terms of the Settlement and the
   2 Stipulation with MashreqBank and MashreqBank has agreed to the terms of the
   3 Settlement, including the award of attorneys’ fees to plaintiffs’ counsel.
   4        8.     The information in this declaration regarding The Mehdi Firm’s time and
   5 expenses is taken from time and expense printouts prepared and maintained by my
   6 firm in the ordinary course of business. I oversaw and/or conducted the day-to-day
   7 activities in the litigation and have reviewed the time and expenses being submitted
   8 herein for reasonableness of the time and expenses committed to the litigation. The
   9 total lodestar amount for attorney/paralegal time based on The Mehdi Firm’s current
  10 rates is $140,672.50. The hourly rates shown below are the usual and customary rates
  11 set by my firm for each individual. A breakdown of the lodestar is as follows:
  12                      NAME                    HOURS RATE LODESTAR
  13      Azra Mehdi                         (P) 187.25  $725.00 $135,756.25
  14      Gabriela Hamilton                  (PL) 17.25  $285.00 $ 4,916.25
          TOTAL:                                  204.50         $140,672.50
  15
  16        9.     My firm seeks an award of $2,704.84 in expenses in connection with the

  17 prosecution of the litigation. They are broken down as follows:
  18                                      EXPENSES

  19                          From Inception to August 31, 2013

  20                    EXPENSE CATEGORY                                  TOTAL
        Meals, Hotels & Transportation                               2,125.82
  21
        Photocopies                                                  0
  22
        Postage                                                      0
  23    Telephone, Facsimile                                         267.30
  24    Messenger, Overnight Delivery                                0
        Filing, Witness & Other Fees                                 110.00
  25
        Court Hearing and Deposition Reporting, and Transcripts      0
  26
        Online Legal and Financial Research                          201.72
  27    Class Action Notices/Business Wire                           0
  28    Mediation Fees                                               0

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   1                   EXPENSE CATEGORY                                  TOTAL
   2    Experts/Consultants/Investigators                      0
              Insert Name                                    $ 0
   3
                                                               0
   4                                                           0
   5    Database Management Charges                            0
   6    Assessments/Contributions to Litigation Expense Fund   0
                               TOTAL                           $2,704.84
   7
   8        I declare under penalty of perjury under the laws of the United States of
   9 America that the foregoing is true and correct. Executed this 17th day of September,
  10 2013 at San Francisco, California.
  11                                                     /s/Azra Z. Mehdi
                                                         AZRA Z. MEHDI
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    1                             CERTIFICATE OF SERVICE
    2        I hereby certify that on September 23, 2013,1 authorized the electronic filing of
    3 the foregoing with the Clerk of the Court using the CM/ECF system which will send
    4 notification of such filing to the e-mail addresses denoted on the attached Electronic
    5 Mail Notice List, and I hereby certify that I caused to be mailed the foregoing
    6 document or paper via the United States Postal Service to the non-CM/ECF
    7 participants indicated on the attached Manual Notice List.
    8        I certify under penalty of perjury under the laws of the United States of America
    9 that the foregoing is true and correct. Executed on September 23, 2013.
   10
                                                   s/ Spencer A. Burkholz
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